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 1                                                            The Honorable Robert J. Bryan
 2
 3
 4
 5
 6
 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT TACOMA
 9
10
      UNITED STATES OF AMERICA,
11                                                     NO. CR21-5287-RJB
                               Plaintiff,
12
                          v.                           GOVERNMENT’S SENTENCING
13                                                     MEMORANDUM
      TYRON JACKSON,
14
                               Defendant.
15
16          The United States of America, by and through Nicholas W. Brown, United States
17 Attorney for the Western District of Washington, and Rebecca S. Cohen, Assistant
18 United States Attorney for said District, respectfully submits this memorandum regarding
19 the sentencing of Defendant Tyron Jackson scheduled for Friday, December 3, 2021, at
20 10:30 a.m.
21              INTRODUCTION AND SENTENCING RECOMMENDATION
22          Defendant Tyron Jackson (Jackson), an enrolled member of the Quileute Tribe,
23 pled guilty to two counts of abusive sexual contact, in violation of 18 U.S.C. §§ 1153,
24 2244(a)(5), and 2246(3). The counts pertain to the sexual assaults of two separate
25 victims, both of whom were under the age of eleven at the time they were assaulted, that
26 occurred on the Quileute Reservation and the Lower Elwha Reservation, respectively.
27 For the reasons set forth below, the government recommends a sentence of eleven years
28
     Government’s Sentencing Memorandum - 1                             UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, STE. 5220
     (United States v. Jackson, CR21-5287-RJB)
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 1 (132 months) of imprisonment for Jackson, followed by thirty (30) years of supervised
 2 release.
 3           The government notes that it has consulted with prosecutors from the Quileute and
 4 Lower Elwha Klallam Tribes about its recommendation, and that both Tribes concur with
 5 the government’s position.
 6                                      THE OFFENSE CONDUCT
 7           Jackson agreed to the following facts set forth in Paragraph 9 of the parties’ Plea
 8 Agreement:
 9           During the relevant time period between 2013 and 2015, Defendant was in
             a relationship with a family member of Minor Victim 1 (MV1). At various
10
             times during this period, MV1 lived [with a] family member at a residence
11           in La Push, Washington. The residence is located within the exterior
             boundaries of the Quileute Indian Reservation.
12
13           At some point between July of 2013 and May of 2015, while lying in bed
             with MV1, who was six or seven years old at the time, Defendant
14           intentionally touched MV1’s genitalia, underneath her clothing.
15           Defendant’s intent in doing was to arouse and gratify his sexual desire.
             This occurred at the residence of Defendant’s mother in La Push,
16           Washington.
17
             Approximately three to five years later, in 2018, Defendant attended a party
18           located at the residence of the mother of Minor Victim 2 (MV2), which is
19           within the exterior boundaries of the Lower Elwha Reservation. The party
             occurred during the evening, and MV2 and her sibling were at the residence
20           during the party, but went to sleep in their bedroom before the party ended.
21           While MV2 was in her bed and the party guests were outside in the
             backyard, Defendant entered the bedroom MV2 shared with her sibling,
22           who was asleep. Defendant approached MV2 and pulled down her pants.
23           Defendant intentionally touched MV2’s genitalia. Defendant’s intent in
             doing was to arouse and gratify his sexual desire. MV2 was ten years old at
24           the time.
25
     Dkt. 12, at ¶ 9.
26
             When interviewed by forensic interviewers, both MV1 and MV2 disclosed
27
     conduct beyond what Jackson admitted to in the Plea Agreement. MV1 disclosed a
28
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 1 number of additional sexual assaults by Jackson that occurred at locations off of the
 2 Quileute Reservation, including out of state. MV2 was not assaulted on more than one
 3 occasion by Jackson, but when forensically interviewed MV2 disclosed that Jackson had
 4 penetrated her vagina with his penis. See Complaint (Dkt. 1).
 5            The United States has jurisdiction to charge Jackson for the assaults because the
 6 residences where the assaults occurred are located within the exterior boundaries of the
 7 Quileute and Lower Elwha Reservations, and Jackson is an enrolled member of the
 8 Quileute Tribe, a federally recognized tribe.
 9                                           PROCEDURAL HISTORY
10            On June 17, 2019, Jackson was arrested by the Lower Elwha Klallam Tribe,
11 detained at the Clallam County Jail, and charged with the sexual assault of MV2.
12            On June 11, 2020, Magistrate Judge Theresa L. Fricke signed a one-count
13 Complaint charging Jackson with Abusive Sexual Contact for the assault of MV2. Dkt.
14 1. Jackson did not appear on the Complaint because he was in tribal custody at the time.
15            On September 3, 2021, Jackson pled guilty to an Information charging him with
16 two counts of Abusive Sexual Contact, in violation of 18 U.S.C. §§ 1153, 2244(a)(5), and
17 2246(3). Dkt. 12.1 The Plea Agreement contained an agreed range for the parties’
18 sentencing recommendation of seven to eleven years. The Plea Agreement contains a
19 waiver of appeal. Dkt. 12.
20            Jackson remained in the custody of the Lower Elwha Klallam Tribe until
21 November 22, 2021, when he was released from the Tribe’s custody to be transferred into
22 federal custody for the purpose of his sentencing hearing on December 3, 2021.
23            The government anticipates that the Lower Elwha Klallam Tribe will dismiss its
24 charges against Jackson once sentencing in this case has occurred.
25
26
     1
      On September 3, 2021, Jackson appeared for an initial appearance and change of plea hearing at the United States
27   Courthouse in Tacoma, where he was briefly brought pursuant to a writ. Dkt. 13. The Court issued a detention
     order, and Jackson was then returned to the Clallam County Jail in tribal custody until transported to the FDC on
28   November 23, 2021.
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 1                                        SENTENCING GUIDELINES
 2            The government sets forth the following calculation of the advisory guidelines
 3 range:
 4                                      Count 1
 5           (applying the cross reference to 2A3.1 found in § 2A3.4(c)(1))
        Base Offense Level                              30     § 2A3.1
 6
        Victim under the age of 12                                        +4       § 2A3.1(b)(2)
 7
        Victim in custody, care of supervision of the                     +2       § 2A3.1(b)(3)
 8      defendant
 9      TOTAL                                                             36
10
                                                   Count 22
11
        Base Offense Level                                                20       § 2A3.4
12
        Victim under the age of 12                                        +4       § 2A3.4(b)(1)
13
        TOTAL                                                             24
14
15            Counts 1 and 2 do not group and no additional levels are added when determining
16 the combined offense level pursuant to USSG § 3D1.4, which is 36. Five levels are then
17 added pursuant to § 4B1.5(b) because Jackson engaged in a pattern of activity involving
18 prohibited sexual conduct (prohibited sexual conduct with a minor on two separate
19 occasions). After a three-level decrease for acceptance of responsibility, the total offense
20 level is 38. Jackson has a criminal history category of II. With a total offense level of 38
21 and a CHC of II, the advisory guidelines range is 262-327 months.
22
23
24
25
26
27   2
       The government’s proposed calculation for Count 2, which was agreed to in the parties’ Plea Agreement, does not
     apply the cross-reference to the higher calculation proposed by Probation in recognition of the fact that Jackson did
28   not agree the sexual contact occurred underneath MV2’s clothing, which is required to constitute a sexual act.
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 1                                   ARGUMENT AND ANALYSIS
 2          The government respectfully submits that a total sentence of eleven years (132
 3 months) of imprisonment followed by thirty (30) years of supervision is sufficient, but
 4 not greater than necessary, to achieve the objectives outlined in Title 18, United States
 5 Code, Section 3553(a).
 6          The nature and circumstances of the offense conduct points towards the need for a
 7 significant and lengthy term of imprisonment. Jackson sexually assaulted two young
 8 children, inflicting life-long pain and trauma. In doing so, he violated the trust of both
 9 the victims and their families. With MV1, Jackson was a father figure who MV1’s
10 mother entrusted with the care and supervision of her children. With MV2, Jackson was
11 an acquaintance of the family who was welcomed into their home for a party, but chose
12 to leave the outdoor festivities and enter into MV2’s bedroom uninvited. As the victim
13 impact statement submitted by MV2 demonstrates, the harm Jackson imposed on her
14 when he entered her bedroom that night has not gone away. MV2 wrote that although
15 she no longer has physical pain, she continues to have emotional pain, feels unstable, and
16 can’t stop thinking about what Jackson did to her because even when she’s able to briefly
17 forget, it “just creeps up out of nowhere.”
18          The seriousness of Jackson’s actions also is shown by Congress’s treatment of his
19 conduct. Although Jackson plead to a lesser offense, it is worth noting that the conduct
20 he admitted committing in the Plea Agreement constitutes a violation of 18 U.S.C.
21 § 2241(c) (aggravated sexual abuse of a child), which is punishable by a mandatory
22 minimum term of imprisonment of thirty years. While the government believes a thirty-
23 year sentence in this case would be too high, the statutory scheme demonstrates the
24 egregiousness of Jackson’s actions and why the government’s recommended sentence of
25 eleven years is necessary here to appropriately punish Jackson for his behavior and the
26 betrayal of trust he committed against the victims and their families.
27          In addition, the government’s recommended sentence is necessary to deter similar
28 conduct from Jackson in the future, as well as to deter similar conduct from other
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 1 members of the community. As the Court knows, sexual abuse and sexual assault against
 2 native children and women is pervasive, and a problem that continues to plague Native
 3 American tribes. Accordingly, general deterrence is especially important here to send a
 4 message that there will be serious consequences for the sexual abuse of Native American
 5 children.
 6          The government is cognizant of Jackson’s personal history, including his struggles
 7 with mental health and substance abuse, and recognizes that to his credit, Jackson
 8 indicated a willingness to plead guilty and take responsibility for his actions not long
 9 after his arrest. The government considered these mitigating factors when deciding to
10 allow Jackson to plead guilty to abusive sexual contact instead of aggravated sexual
11 abuse of a child, which would have required a minimum sentence of thirty years.
12 However, the government does not believe that a sentence lower than eleven years is
13 sufficient, especially in light of the repeated nature of conduct in question, including the
14 harm to the victims and their families and the betrayal of trust involved.
15          With respect to a term of supervision, Congress has mandated a term of at least
16 five years, and both Probation and the government recommend a term of thirty years.
17 Due to the nature of the offense conduct with more than one victim, as well as Jackson’s
18 problems with mental health and substance abuse, the government agrees with Probation
19 that thirty years is necessary and appropriate in this case. The government also agrees
20 with all of the special conditions recommended by Probation, which will protect the
21 community and assist Jackson with his transition after release from imprisonment.
22                                               RESTITUTION
23          The government does not request restitution for MV2, and is working with MV1’s
24 family to determine whether they incurred any costs for which the government would
25 seek restitution. If the government is not able to make a determination of restitution for
26 MV1 prior to sentencing, it will ask the Court to schedule a separate restitution hearing
27 for approximately ninety days in the future pursuant to 18 U.S.C. § 3664(d)(5), to allow
28 sufficient time to determine the amount of the restitution to be imposed.
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 1                                        WAIVER OF APPEAL
 2          As previously noted and detailed in Paragraph 19 of the Plea Agreement, should
 3 Jackson receive a sentence within or below the guidelines range as calculated by the
 4 Court, he waives his appeal rights to the maximum extent permitted by law. Should the
 5 Court impose such a sentence, the government requests that Jackson be advised of this
 6 waiver.
 7                                               CONCLUSION
 8          For the foregoing reasons, the Government requests the Court to sentence
 9 Defendant Tyron Jackson to a total term of eleven years (132 months) of imprisonment,
10 followed by thirty (30) years of supervised release, with all of the special conditions
11 recommended by Probation.
12
13          DATED this 26th day of November, 2021.
14                                                      Respectfully submitted,
15                                                      NICHOLAS W. BROWN
16                                                      United States Attorney
17                                                      /s/ Rebecca S. Cohen
18                                                      REBECCA S. COHEN
                                                        Assistant United States Attorney
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